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                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT



 I, Kevin P. Hoyland, Special Agent with the FBI, being duly sworn, deposes and states under

 penalty of perjury that the following is true to the best of my information, knowledge and belief.

        1. I am a Special Agent with the FBI and have been since 2012. I have experience

            investigating a wide variety of federal criminal violations to include white collar

            crimes, computer crimes, narcotics crimes, violent crimes, crimes against children,

            and other federal violations to include national security matters. As a Special Agent,

            I have received training and gained experience in interviewing techniques, arrest

            procedures, search warrant applications, the execution of search and seizures,

            financial crimes, computer crimes, child exploitation, and various other criminal laws

            and procedures. As part of my duties, I investigate individuals who have participated

            in organized fraud networks, including those targeting the elderly for their own illegal

            gain.

        2. The facts in this affidavit come from my personal observations, my training and

            experience, and information obtained from other law enforcement officers and

            witnesses. This affidavit is intended to show merely that there is sufficient probable

            cause for the requested warrant and does not set forth all of my knowledge about this

            matter.

                                            PROBABLE CAUSE

        3. Your affiant was informed by law enforcement that on 11/02/2018, Estes Park Police

            Department (“EPPD”) was contacted by Key Bank – Estes Park Branch in regards to

            S.O., date of birth (“DOB”) 11/1938, who had recently opened an account and almost

            immediately attempted to withdraw the entire balance of $138,000. Key Bank was



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           concerned that given her age, she was being victimized and defrauded by unknown

           persons.

      4. On 11/27/2018, S.O. went to EPPD with her adult son and filed a complaint

           explaining how she was a victim of a lottery fraud. In early 2018, S.O. received a

           letter in the mail from “The Mega Lottery Picker 2018" which was dated

           "Feb/16/2018" indicating that she had won $2,800,000 USD, tax free from a lottery

           drawing in Spain. The letter provided instructions to contact "Mr. Antonio Morris"

           and that she would be required to remit 5% of the total amount of the winnings to

           "Prosegur Securities Madrid" as the promotion company.

      5.   In March 2018, S.O. began sending tens of thousands of dollars via cashier’s checks,

           Western Union, and packages containing cash to persons unknown to her as directed

           by an individual she knew as “Frank White.” S.O. kept a spreadsheet documenting

           the roughly 70 payments she made, including who she sent money to, dates she sent

           it, the destination address, and how much money she sent, which lists her loss at over

           $1,000,000.00 from March 2018 through November 2018. In subsequent interviews

           with S.O., she provided bank statements, bank receipts, copies of cashier’s checks,

           and other documentation to support her claims that all of the money she has lost was

           her own and she was not duped into receiving and then forwarding along money from

           persons she does not know.

      6. Between 03/26/2018 and 04/16/2018, S.O. wired $5,880 via Western Union and over

           $102,000 in cashier’s checks to S.P., DOB 03/1951, on Wimbledon Dr SW,

           Grandville, MI. Banking records from Huntington National Bank indicate that on two

           occasions in April 2018, S.P. received funds from S.O. Two days after these funds




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         were deposited into S.P.’s account she requested cashier’s checks made out to an

         individual named Leonard Luton for nearly the same amount as received. Those

         checks were subsequently cashed by an account holder at Bank of America. When

         contacted by Huntington National Bank, S.P. acknowledged that she did not know the

         people she was receiving the money from, nor sending the money to, but felt that she

         was helping people and did not benefit monetarily from her actions.

      7. On 04/20/2018, Grand River Bank in Grandville, MI contacted the Grandville Police

         Department (“GPD”) to report suspicious activity with a new customer, S.P. Per the

         GPD police report, S.P. with the same DOB as the aforementioned S.P., opened the

         account three days prior using a $45,000 cashier’s check sent by S.O. and attempted

         to withdraw $30,000. When police contacted S.P. and asked her the purpose behind

         the money, she said it was for taxes she needed to pay related to her winning

         $5,000,000 in the Publisher’s Clearing House lottery. S.P. continued to explain that

         she received money and instructions from “David” at 702-726-2033 on where to send

         money after receiving it and asked the GPD Investigators if she could call him so he

         could help explain the situation.

      8. GPD reported that upon listening to S.P.’s conversation with David, it was clear he

         was upset that she had involved law enforcement and wanted her to stop speaking

         with them, take $30,000 of the $45,000, and go open a new account at a different

         bank. At one point while on “hold” with David, S.P. began to speak with the GPD

         Investigator in the room with her. David overheard the conversation and became

         suspicious. The Investigator identified himself as S.P.’s grandson to continue the

         ruse. David denied the money was related to a lottery and instead explained the funds




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         were for a business start-up wherein S.P. was supposed to keep $2,000. David offered

         to pay the Investigator $500 for “his troubles.” Over a two-hour period while S.P. was

         being interviewed, David attempted to contact S.P. 52 times.

      9. Your affiant knows that individuals who orchestrate these types of wire and mail

         frauds often target older persons who are more likely to believe fact patterns which

         are illogical. The suspects frequently call and badger the victims in an attempt to get

         the victims to go along with their scheme and send or receive money. When persons

         are no longer willing, or able, to send their own money, they are then recruited to

         serve as a recipient of other victim’s money for further routing to the fraudsters in an

         effort to make the paper trail more difficult to follow. Persons who serve as a conduit

         for transferring the money are often called money mules.

      10. With S.P.’s consent, GPD reviewed her text messages with 702-726-2033 and found

         numerous references to shipment tracking numbers and other instructions on where

         S.P. was supposed to send the money she received. On 03/31/2018, S.P. received a

         text which stated “Account:483065255611 Routine:021000322Leonard Luton.” The

         number under “Routine” corresponds to a routing number for Bank of America. Your

         affiant believes this is the same Luton listed in the aforementioned Huntington

         National Bank banking records as referenced in Paragraph 6.

      11. On or about 05/17/2018, GPD added a supplement to their report that detailed a

         conversation they had with S.P.’s adult son who explained that the scammers had

         mailed S.P. a cell phone in an effort to continue to communicate with her that helps to

         describe the depth these scammers are willing to go for their own personal greed.




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      12. As communicated to your Affiant by EPPD Detectives, during EPPD’s interviews

         with S.O. she explained how she began to lose trust in White as he continually

         promised her a return of her money and other prizes she had “won” which never came

         true. S.O. communicated with White via telephone and White often used number 702-

         726-2033; the same number S.P. provided for David. That number resolves back to

         Bandwidth.com, which provides a variety of telecom solutions, to include Voice Over

         Internet Protocol (“VoIP”). VoIP allows an individual to make phone calls

         internationally over the internet at low or no cost to them.

      13. Around late April/early May 2018, White told S.O. that S.P. had been arrested and

         that S.O. had been the victim of a fraud. White went on to allege that he was working

         with law enforcement in an attempt to get her money back. Eventually, S.O. told

         White she would no longer send him money because she did not trust him. White

         asked her if she trusted the FBI, to which she said she did. White then provided her

         with phone number 347-719-7368 for her to call to confirm for herself that White was

         working with the FBI to recover and return her money. S.O. stated she called the

         number and it was answered by an individual stating “Federal Bureau of

         Investigation” and that they were working with White in effort to get S.O.’s money

         back. The subscriber of that number has not been identified yet, however it also

         resolves back to Bandwidth.com.

      14. S.O. explained to EPPD that she had been in communication with White regularly in

         the days prior to 10/02/2018. White told S.O. that he would contact the FBI and they

         would dispatch an agent and a “Merchant Banker” to her house to pick-up the

         remaining $65,000 she “owed.” Similar to previous payments, S.O. believed this




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         would be the final payment she needed to make to receive all her previous money

         back and/or prizes White told her she had won.

      15. At approximately 11:00pm on 10/02/2018, S.O. received a knock at her residence

         where she lived alone, to find as she described a large black male standing there. The

         man told her he was an FBI agent, showed her a badge, and indicated the person S.O.

         could see sitting in the car was the Merchant Banker White had told her about. S.O.

         handed the individual a package containing $65,000 in cash and they left.

      16. For a two week period in November, your Affiant attempted to consensually record

         the telephone calls between S.O. and White. Those calls affirm the relationship as

         described by S.O. wherein White frequently called and harassed S.O. for more

         money, continually promising a variety of things in an effort to get her to send him

         more money. White has a distinct accent that sounds Jamaican.

      17. On the morning of 01/22/2019, S.O. called EPPD stating that White was planning to

         send someone to her residence to pick-up $39,600. EPPD officers were dispatched to

         her house and could hear White telling S.O. on the phone that “agents” were on their

         way and instructed her to bring the package of money out to them in the car. When

         the vehicle arrived later that afternoon, EPPD arrested the driver of the vehicle --

         Leonard L. Luton, DOB 04/21/1976, address 1307 Pacific St. Apt 6D, Brooklyn, NY

         and passenger Stacy A. Byfield, DOB 07/13/1990, address 443 Tompkins Ave, #4,

         Brooklyn, NY -- near S.O.’s front door.

      18. White remained in telephonic contact after the arrest, telling S.O. that he cannot get

         ahold of the agents after she conveyed that no one came to her house. As the night of

         01/22/2018 wore on, White allegedly made statements that he was trying to find an




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         agent in Loveland, CO to come up either that night or the next day to pick up the

         money. It was presumed by S.O. to be another FBI agent, however no additional

         persons showed up at her residence. The following day after further promises of more

         agents showing up, White instructed S.O. to wire the $20,000 to L.W. of Groton, CT

         and provided her with routing instructions to do so. L.W. is an individual who S.O.

         had previously sent money to in this scheme and it is unclear if he is a money mule or

         witting participant.

      19. Following the arrests, both Luton and Byfield were separately read their Advice of

         Rights and provided a hard copy of the document to review themselves by Detective

         Caleb Robertson of EPPD and your Affiant. Prior to initiating interviews, both Luton

         and Byfield signed the Advice of Rights waiving their rights and agreed to speak with

         investigators. The interviews were both audio and video recorded and the individuals

         were offered water and food at many intervals during the interviews.

      20. Byfield stated she was the girlfriend of Luton and did not understand why she was

         under arrest. Byfield explained they had driven to Colorado from New York, but she

         had slept most of the trip and did not understand the purpose behind the trip. Byfield

         also claimed to not know why they stopped at S.O.’s home and that she went to her

         door at the instruction of Luton without any additional information or context.

         Byfield did not believe it to be unusual to drive 2,000 miles across the country

         without knowing an end destination, nor was it unusual to go to an unknown person’s

         front door without any context behind the purpose.

      21. Byfield eventually acknowledged that she had traveled with Luton before to pick up

         unknown packages and has spent nights in hotels during those trips. This would




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         indicate that these trips took them well outside of New York if it required a stay in a

         hotel and not just a day trip to places.

      22. During the interview, Byfield signed a consent to search form to review her iPhone

         which was seized from her person during the arrest. Nonetheless, EPPD obtained a

         search warrant for this iPhone from Larimer County Judge Jouard the following day.

         Contained on the phone were photos of Western Union receipts, including those sent

         by a Jamie Smith of New York to multiple different names. When asked about these

         photos, Byfield explained how she was blocked from sending money to Jamaica by

         Western Union because they thought her previous transactional activity was

         fraudulent, so she used her cousin Smith to send money on her behalf. When

         questioned about why Western Union thought her transactions were fraudulent,

         Byfield stated that Western Union flagged repetitive transactions as fraudulent. Your

         affiant knows that repetitive transactions alone does not block a customer from using

         Western Union’s service.

      23. Byfield stated that Luton gave her the money to give to her cousin to then send to

         persons in Jamaica. Byfield then took a photo of the receipt and texted the photo to

         Luton highlighting the tracking number. Your affiant knows from similar

         investigations that sending money via Western Union and then providing photos of

         the receipt and tracking number is often how fraudsters pass money back to the

         organization operating the scheme, especially when it is located outside the US.

      24. Byfield’s information was queried through New York and she was found to have no

         New York license, but did have information on file related to a previous arrest. The

         address on file in New York listed 443 Tompkins Ave, #4, Brooklyn, NY for Byfield.




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         Byfield stated her father lived at that address with whom she has a good relationship,

         but she had not lived there in approximately 10 years and provided a different address

         in the Brooklyn area for herself. When asked about why S.O. would have sent

         $15,000 in cash addressed to “Tom White” to that Tompkins Avenue address via UPS

         on 11/07/2018 and another $20,000 in cash the following day, Byfield did not have an

         answer. Byfield claimed to not know anything about any packages sent to that

         address, nor the money inside them.

      25. Given the lack of reasonable explanations for driving from New York to Colorado

         and going up to the door of S.O.’s residence, photos of Western Union receipts with

         names sending money other than her own, and S.O. sending $35,000 in cash to a Tom

         White at the Tompkins Avenue address listed for her in New York, your Affiant

         believes that Byfield is aware of and participated in the scheme to defraud S.O..

      26. During Luton’s interview with Detective Robertson and your Affiant, he explained

         that Byfield and he were planning on traveling to Chicago and shortly before leaving,

         was asked by his friend Rayjay Dobson if he could pick up a package in Colorado.

         Luton claimed to have never been to Colorado before and did not realize how far

         away Colorado was from Chicago. Dobson offered to pay Luton $500 for his

         troubles. Luton alternated between explaining how he was a successful DJ and also

         worked odd jobs to make money, to being poor and having to sleep in his car.

      27. Luton verbally consented to letting your Affiant go through the iPhone seized from

         his person following his arrest, but refused to sign the consent form. Luton was asked

         no less than five times at different points during the interview if he consented to your

         Affiant looking through his phone or taking pictures of items on his screen. At no




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          point did Luton ever revoke that consent or otherwise indicate he did authorize your

          Affiant to review data on his phone.

       28. Luton acknowledged that he picked up packages on behalf of Dobson and that he

          gave the packages to Dobson’s brother “Greg” who also lived in New York. Luton

          did not know Greg’s last name, but knew Greg to be an alias. Luton did not know

          what happened to the packages afterwards and claimed to be surprised to learn that

          the package he was supposed to pick up at S.O.’s house had tens of thousands of

          dollars in cash. Luton later hypothesized that if there was money in the packages,

          Greg probably sent the money down to Jamaica or gave the money to persons who

          were physically traveling to Jamaica.

       29. Luton provided phone numbers 876-770-7685 and 876-774-3214 for Dobson, 347-

          489-1346 for Greg, and showed your Affiant a text message from Greg giving Luton

          his address of 24 S. 11th Ave, Mount Vernon, NY. Luton explained that he has known

          Dobson for a while as they grew up in the same area of Jamaica, but does not know

          Greg as well. Through social media searches, open source database searches, and

          other FBI databases, “Rayjay Dobson” has successfully been identified as Rajay

          Dobson, DOB: 11/05/1990, likely living in Jamaica and “Greg” as Jermain Dobson,

          DOB: 09/19/1983, living at the same Mount Vernon, NY address as provided by

          “Greg” in a text message to Luton in December of 2018. Jermain Dobson is also

          from Jamaica and is Rajay Dobson’s brother.

       30. As the interview continued, Luton was asked about names and addresses where S.O.

          has sent money, including both “Mark White” and “John Anderson” at 204 Fifth Ave,

          Toms River, NJ. Luton stated his friend Lincoln “Scabo” Haughton lived at that




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          address and Luton had asked Haughton to accept some packages on Luton’s behalf,

          which Luton subsequently picked up and turned over to “Greg” (Jermain Dobson).

          Luton stated Haughton did not like having packages sent to his address with fake

          names, so only 2-3 packages went there. When confronted with at least six separate

          shipments from S.O. to that address from September 2018 through November 2018

          totaling $65,000, Luton claimed he was surprised to hear that.

       31. Luton was asked why S.O. was asked to purchase and then send four iPhones to a

          “John Anderson” on two separate occasions in October 2018. S.O. sent them to 1307

          Pacific St. Apt 6D, Brooklyn, NY, the same address Luton provided for himself

          during the interview. Luton claimed he did not know a John Anderson, nor did he

          receive any packages containing iPhones, but said it was common for packages to be

          mislabeled within his building. On 01/23/2019, a search warrant was issued by

          Larimer County Judge Jouard for Luton’s iPhone seized from his person following

          his arrest. In reviewing the phone, it was determined that the IMEI of Luton’s phone

          was identical to one of the iPhones that S.O. had purchased on 10/29/2018 and sent to

          “John Anderson” at Luton’s address. During the interview, Luton denied that the

          phone was sent to him by S.O. and instead stated that he bought it from an individual

          named “Briggs” who drove a Lincoln SUV with Virginia plates. Given the amount of

          data on the phone which stretches back before October 2018, it is likely that Luton

          transferred data from his old phone to this new iPhone.

       32. A search warrant was signed in Larimer County and served on Apple, Inc on

          12/01/2018 in regards to the device identifiers from the iPhones which S.O. had sent

          to John Anderson and others as part of the fraud. Apple responded to the warrant and




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          listed the accounts for which the devices were registered under. Two of the phones

          were registered under the name “Rajay Jodson” on 11/14/2018 with fictitious

          addresses. However, one of the phone numbers used to register the phone was 702-

          226-2033, the same number used by White to contact S.O. Additionally, the IP

          address associated with the registration and subsequent iTunes transactions for those

          devices resolves back to ISP Cable and Wireless Jamaica. Your affiant believes that

          “Rajay Jodson” is actually Rajay Dobson, who is using the alias Frank White to

          defraud S.O.

       33. On 01/25/2019, Detective Robertson spoke with Lorna Malone of 1307 Pacific St.

          Apt 6D, Brooklyn, NY. Malone confirmed she is Luton’s mother, lives at that address

          with Luton and explained how previously a package had arrived at her residence

          addressed to John Anderson which Luton took.

       34. While reviewing additional text message conversations between Luton and Dobson,

          on 09/06/2018 Luton sent Dobson a text stating “204 fifth avenue Toms River New

          Jersey 08757”. Dobson responded with a 12 digit number which was determined to be

          a FedEx tracking number listing a shipment by S.O. from Estes Park, CO to that

          address delivered on 09/07/2018. S.O. noted that the package contained $15,000 in

          cash.

       35. On 11/06/2018, Luton sent Dobson a text with the address of 443 Tompkins Ave,

          Brooklyn, NY 11216 which is the same address associated with Byfield. Dobson

          responded back “Tom White” and then on 11/07/2018 and 11/08/2018 provided

          Luton with two different 18 digit numbers which resolve back to UPS tracking

          numbers for shipments by S.O. sent to the captioned address. S.O. listed those




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          packages as being addressed to the same “Tom White” and contained a total of

          $35,000 in cash.

       36. Luton’s phone also had information on it regarding a Bank of America bank account

          ending in 5611, which is believed to be the same account used to receive funds from

          S.P. in April 2018.

       37. Lastly, Luton claimed in the 01/22/2019 interview that he had never been to Colorado

          before. In reviewing the geolocation data on Luton’s phone, his phone recorded a

          GPS coordinate of 40.381481, -105.525291 at 11:31pm on 10/02/2018 which

          corresponds to S.O.’s residence. This is the same day and approximate time that S.O.

          said a large black man showed up at her house claiming to be an FBI agent, showed

          her a badge, and to which she gave him $65,000 in cash wrapped in rubber bands and

          placed in a manila envelope. Based on text messages on Luton’s phone around that

          time, it is still unclear whether or not he was the individual who went to her door or

          the person who remained in the car.

       38. Ten days later on 10/12/2018, Luton’s phone took a photograph of stacks of

          presumed U.S. currency with rubber bands around them. Also viewable in the

          photographs was a manila envelope. Detective Robertson believes the sheer amount

          of cash shown would be close to the $65,000 which S.O. gave the “FBI agent.”

       39. Given the totality of the evidenced gathered thus far from Luton’s own words, data

          off of his phone, and connections to addresses of note in the investigation, your

          Affiant believes that Luton and Byfield are active and willing participants in the

          scheme to defraud S.O..




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 I, Kevin P. Hoyland, being duly sworn according to law, depose and say that the facts stated in

 the foregoing affidavit are true and correct to the best of my knowledge, information and belief.



 Dated: January 31, 2019


                                              s/ Kevin P. Hoyland
                                              Special Agent
                                              FBI



 Submitted, attested to, and acknowledged by reliable electronic means on
 ____________________, 2018.


                                              ____________________________
                                              United States Magistrate Judge
                                              United States District Court
                                              District of Colorado



 Affidavit reviewed and submitted by Martha A. Paluch, Assistant United States Attorney.




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